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              IN THE UNITED      STATES    DISTRICT COURT         FOR THE
                         SOUTHERN DISTRICT        OF    GEORGIA
                                 AUGUSTA DIVISION


UNITED       STATES    OF AMERICA           *


        v.                                  *      CR    115-077-11


VINCENT       COLLEY                        *




                                        ORDER




        On October 24,          2016,    Defendant Vincent            Colley filed a

motion to reduce his sentence pursuant to Amendments 782 and

794 to the United States Sentencing Guidelines.                        Amendment 782

implemented a two-level offense level reduction to a majority

of   the offense         levels assigned to            the drug quantities            set

forth    in    U.S.S.G.     §   2D1.1.     This    amendment          took   effect    on

November 1, 2014.          Amendment 794 sets out new guidelines for

the determination of whether a defendant should be granted a

mitigating       role     reduction      under    U.S.S.G.        §    3B1.2.      This

amendment took effect on November 1,                    2015.   Thus,        Defendant,

who was sentenced on August 16, 2016,                     already had the full

benefit of the changes occasioned by both Amendment 782 and

Amendment 794.          Accordingly, the motion to reduce (doc. 486)

is DENIED.


        ORDER ENTERED at Augusta, Georgia, this                       £>?£P^ day of
October,       2016.




                                                HONORABLE J.      RANDAL HALL
                                                UNITED STATES DISTRICT JUDGE
                                                SOUTHERN DISTRICT OF GEORGIA
